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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

    ANNA LEMLER,

                 Plaintiff,                       Judge

    v                                             No.

    WASHTENAW INTERMEDIATE SCHOOL
    DISTRICT and HOLLY HEAVILAND,

              Defendants.
    ______________________________________/

     MATTHEW KRICHBAUM (P52491)               TIMOTHY J. MULLINS (P28021)
     SOBLE ROWE KRICHBAUM LLP                 GIARMARCO, MULLINS & HORTON, P.C.
     Attorney for Plaintiff                   Attorney for Defendants
     302 E. Liberty Street                    101 W. Big Beaver Road, 10th Floor
     Ann Arbor, MI 48104                      Troy, MI 48084-5280
     (734) 996-5600                           (248) 457-7020
     mattheew@srkllp.com                      tmullins@gmhlaw.com
    __________________________________________________________________

                                NOTICE OF REMOVAL

          Defendants, WASHTENAW INTERMEDIATE SCHOOL DISTRICT and

    HOLLY HEAVILAND, by and through their attorneys, GIARMARCO, MULLINS

    & HORTON, P.C., file their Notice of Removal from the Washtenaw County Circuit

    Court, State of Michigan, to the United States District Court for the Eastern District

    Michigan, Southern Division, pursuant to 28 U.S.C§ 1441 stating as follows:

          1.     This matter is hereby removed pursuant to 28 U.S.C. § 1441.

          2.     Plaintiff commenced the above-entitled action in the Washtenaw
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    County Circuit Court, State of Michigan, and said case is now pending under Case

    20-001087-CZ. A copy of the Plaintiff’s Complaint is attached hereto as Exhibit A.

          3.     This is a civil action alleging free speech claims under the First and

    Fourteenth amendment through 42 U.S.C. § 1983.

          4.     This Notice of Removal is timely filed under 28 U.S.C. § 1446(b)(3) as

    it has been filed within thirty (30) days after service of copies of the Plaintiff’s

    Complaint and State Court proceedings and/or voluntary acceptance of process and

    appearance by Defendants herein as of November 18, 2020.

          5.     This Court has original jurisdiction over this action pursuant to 28

    U.S.C. § 1441 because the claims involve Federal questions and the subject of the

    Plaintiff’s Complaint represents subject matter jurisdiction although there is, upon

    information and belief, non-diversity of citizenship between the parties.

          6.     The United States District Court for the Eastern District of Michigan,

    Southern Division, is the Federal District embracing the Washtenaw County Circuit

    Court, State of Michigan, where the suit is pending and, therefore, removal to this

    Court is proper pursuant to 28 U.S.C. § 1441.

          7.     Upon the filing of this Notice of Removal, these Defendants will

    promptly serve a copy of this document, together with a Notice of Removal of Case

    to Federal Court on all adverse parties pursuant to 28 U.S.C. § 1446. Said Notices

    will also be filed with the Clerk of the Washtenaw County Circuit Court, State of


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    Michigan.

          8.     When filing this Notice, Defendants do not waive any defenses which

    may be available to them including, but not limited to, the absence of personal

    jurisdiction over these Defendants or improper venue in this Court from which this

    action has been moved.

          WHEREFORE, Defendants, WASHTENAW INTERMEDIATE SCHOOL

    DISTRICT and HOLLY HEAVILAND, pray that the above-entitled action be

    removed from the Washtenaw County Circuit Court, State of Michigan, to the

    United States District Court for the Eastern District of Michigan, Southern Division.


                                    /s/TIMOTHY J. MULLINS
                                    GIARMARCO, MULLINS & HORTON, PC
                                    Attorney for Defendants
                                    101 W. Big Beaver Road, 10th Floor
                                    Troy, MI 48084-5280
                                    (248) 457-7020
                                    tmullins@gmhlaw.com
                                    P28021

    DATED: November 18, 2020




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                                 PROOF OF SERVICE

           Timothy J. Mullins states that on November 18, 2020, he served a copy of the
    Notice of Removal upon Matthew Krichbaum by placing same in a sealed envelope,
    properly addressed, with sufficient first-class postage affixed thereon, in a United
    States Mail receptacle on the aforementioned date.

                                    /s/TIMOTHY J. MULLINS
                                    GIARMARCO, MULLINS & HORTON, PC
                                    Attorney for Defendants
                                    101 W. Big Beaver Road, 10th Floor
                                    Troy, MI 48084-5280
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                                    P28021




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